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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division

ELIZABETH SINES, ET AL.,                          │
                                                  │
               Plaintiffs,                        │
                                                  │
       v.                                         │ Civil Action No. 3:17-cv-00072
                                                  │
JASON KESSLER, ET AL.,                            │
                                                  │
               Defendants.                        │
                                                  │

                                         Table of Exhibits
       Exhibits referenced in the Memorandum in Support of the Motion for Summary

Judgment are referenced in numerical order, except for Deposition Exhibits. Deposition Exhibits

are referenced as Hill (or Tubbs) Dep. Ex. X. Deposition exhibits are listed under the Deposition

where they were introduced.

       Exhibits 35, 37, 38, 43, 45, 46, 57 are videos published on the internet and publicly

available as of August 7, 2020. Counsel will mail digital copies of those exhibits to the Court on

Friday, August 7, 2020 and opposing counsel upon request.

       Exhibit 39 is a video that was produced during discovery. It will be provided to the court

by mail and opposing counsel upon request. Exhibit 42 is a video published on the internet and

publicly available as of August 7, 2020. Counsel has not been able to obtain a digital copy of the

video to date. Once a digital copy is secured, it will be filed with the court and sent to opposing

counsel upon request.

       Hill Dep. Ex 29 is a video that was introduced as an exhibit during Hill’s deposition. It

will be provided to the court by mail and opposing counsel upon request. Tubbs Dep. Exs. 13,
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17, and 20 are videos that were introduced during Tubbs’ deposition. They will be provided to

the court by mail and opposing counsel upon request.

       Exhibit 56 would not upload to the Court’s efiling system. Counsel has included a digital

copy and will file it with the court along with the digital copies of the videos.

Exhibits:

   1. Michael Hill’s Response to Plaintiff’s Second Set of Interrogatories

   2. Michael Hill Deposition Transcript

            a.   Hill Dep. Ex. 4—Hill Pledge
            b.   Hill Dep. Ex. 5—Southern Defense Force
            c.   Hill Dep. Ex. 6—League and UTR
            d.   Hill Dep. Ex. 8—Email from Hill
            e.   Hill Dep. Ex. 15—Email re UTR
            f.   Hill Dep. Ex. 18—Crews discussion
            g.   Hill Dep. Ex. 19—Hill email re Torch March
            h.   Hill Dep. Ex. 22—Tubbs text re contacting law enforcement
            i.   Hill Dep. Ex. 24—email re Antifa violence
            j.   Hill Dep. Ex. 25—Facebook post
            k.   Hill Dep. Ex. 26—Hill message re Antifa violence
            l.   Hill Dep. Ex. 27—Thomey email
            m.   Hill Dep. Ex. 29—video of Market Street clash with Antifa
            n.   Hill Dep. Ex. 31—Hill tweet

   3. Michael Tubbs Deposition Transcript

            a.   Tubbs Dep. Ex. 13—video of Market Street clash
            b.   Tubbs Dep. Ex. Ex. 16—photo of Tubbs at Market Street clash
            c.   Tubbs Dep. Ex. Ex. 17—video of Tubbs at top of stairs in park
            d.   Tubbs Dep. Ex. Ex. 20—DeAndre Harris fight

   4. Robert Ike Baker Deposition Transcript

   5. Bradley Griffin Deposition Transcript

   6. “What is the League of the South”—website posting; https://leagueofthesouth.com/what-
      is-ls/

   7. League of the South webpage Homepage; https://leagueofthesouth.com/
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   8. “A statement of New Orleans and Lee Circle”—website posting;
      https://leagueofthesouth.com/a-statement-on-new-orleans-and-lee-circle/

   9. “League of the South in Pikeville, Kentucky”—website posting;
      https://leagueofthesouth.com/league-of-the-south-in-pikeville-kentucky/

   10. “A few notes on an American race war”—website posting;
       https://leagueofthesouth.com/a-few-notes-on-an-american-race-war/

   11. “Hardly peaceful, but no violence as white nationalists, protesters yell in Pikeville”—
       Lexington Herald Leader; https://www.kentucky.com/news/state/article147594424.html
       (article and video)

   12. “Jihad in Tennessee”—website posting; https://leagueofthesouth.com/jihad-in-tennessee/

   13. NCRIC Advisory Bulletin; https://national-
       justice.com/sites/default/files/2020/07/10/berkely.pdf

   14. Congressional Research Service—Antifa Article;
       https://crsreports.congress.gov/product/pdf/IF/IF10839/2

   15. “The League and the Unite the Right rally”—website posting;
       https://leagueofthesouth.com/the-league-and-the-unite-the-right-rally/

   16. “League of the South statement on Charlottesville”—website posting;
       https://leagueofthesouth.com/league-of-the-south-statement-on-charlottesville/

   17. Michael Tubbs Discord chat

   18. Robert Ike Baker Discord on 2017-08-06

   19. Charlottesville Police Department – internal memo - City000000941 - 943

   20. “League of the South with be at Unite the Right”—website posting;
       https://leagueofthesouth.com/league-will-be-at-unite-the-right-rally-12-august-
       charlottesville-va/

   21. Charlottesville Police Department – internal memo - City000000340

   22. Charlottesville Police Department – internal memo - City000000341

   23. Charlottesville Police Department – internal memo - City000000342
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   24. Charlottesville Police Department – internal memo - City000000449

   25. Charlottesville Police Department – internal memo - City000000446

   26. Charlottesville Police Department – internal memo - City000000850

   27. Charlottesville Police Department – internal memo - City000000851

   28. Charlottesville Police Department – internal memo - City000000852

   29. Charlottesville Police Department – internal memo - City000000941

   30. Charlottesville Police Department – internal memo - City_00001477

   31. Charlottesville Police Department – internal memo - City_00001478

   32. [empty]

   33. Charlottesville Police Department – internal memo - City000000323

   34. Charlottesville Police Department – internal memo - City000000150

   35. https://www.youtube.com/watch?v=JEpDiM0M610&t=477s at 6:25-6:43, 7:16-7:21,
       9:20-9:31, 10:45-10:59

   36. Image of Antifa blockage

   37. https://www.youtube.com/watch?v=0s8R_cGgvFY

   38. https://archive.org/details/archiveteam_videobot_twitter_com_896384861187051520/128
       0x720.ts

   39. Journalist video of Rally—NOCUSTODIAN00044709

   40. Image of Counter protester sign

   41. Image of Counter protester sign

   42. https://ia800805.us.archive.org/26/items/periscope-
       1zqKVRpXbkPKB/BuzzFeed_News_-_The_KKK_neo-
       Nazis_and_other_hate_groups_are_in_Charlottesville_for_the_Unite_the_Right_rally.-
       1zqKVRpXbkPKB.ogv at 0:59-2:33, 0:49-1:09, 3:10-3:30, 3:32-3:52, 4:28-4:41
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   43. https://www.youtube.com/watch?v=1FBsxSVC3-A

   44. Charlottesville Police Department – internal memo - City000000107

   45. https://www.youtube.com/watch?v=qg8TRc8O7dM&feature=youtu.be

   46. https://www.youtube.com/watch?v=OcPiHEZqVxQ

   47. Charlottesville Police Department – internal memo - City000000108

   48. Charlottesville Police Department - internal memo - City000000323

   49. [empty]

   50. Image of rally goer injury

   51. Tallahassee Democrat news article;
       https://www.tallahassee.com/story/news/2018/01/27/heavy-law-enforcement-presence-
       keeps-league-south-rally-peaceful-white-supremacists/1072048001/

   52. “A Statement on legal matter regarding League events in Middle Tennessee”—website
       posting; https://leagueofthesouth.com/a-statement-on-legal-matters-regarding-league-
       events-in-middle-tennessee-28-october-2017/

   53. “The League and the National Front at Shelbyville”—website posting;
       https://leagueofthesouth.com/the-league-and-nationalist-front-at-shelbyville-28-october/

   54. [empty]

   55. “The League in Knoxville but no Antifa”—website posting;
       https://leagueofthesouth.com/the-league-in-knoxville-but-no-antifa/

   56. Heaphy Report (document would not upload to Court’s e-filing system)

   57. https://www.youtube.com/watch?v=_TWCEV5U09c&feature=youtu.be

   58. Image of rally goer injury

   59. Affidavit/Declaration of Michael Hill

   60. Affidavit/Declaration of Michael Tubbs
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   61. Affidavit/Declaration of Robert Ike Baker

   62. Plaintiff Wispelwey Deposition Transcript
